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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        :
 UNITED STATES OF AMERICA,                                              :
                                                                        :     16-CR-387 (JMF)
                                   v.                                   :
                                                                        :       AMENDED
 LUIS BLONDET, et al.,                                                  :   SCHEDULING ORDER
                                                                        :
                                 Defendants.                            :
                                                                        :
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JESSE M. FURMAN, United States District Judge:

        Upon application of Defendant Julio Marquez-Alejandro (Docket Nos. 254 and 255) and

Defendants in “Trial Group Two,” the pretrial conference previously scheduled for August 1,

2019, is ADJOURNED to August 13, 2019, at 2:15 p.m. Unless otherwise noted on the docket

— and counsel should check before the conference — the conference will be held in Courtroom

1105 in the Thurgood Marshall Courthouse, 40 Centre Street, New York, NY 10007. All

other dates and deadlines remain in effect.

        The Clerk of Court is directed to terminate Docket Nos. 255 and to docket this Order in

reference to all Defendants (other than William Robles).

        SO ORDERED.

Dated: June 6, 2019
       New York, New York
